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AO 91 (Rev. 11/11) Criminal Complaint


                                    UNITED STATES DISTRICT COURT
                                                              for the
                                                   District of New Mexico

                  United States of America                       )
                             v.                                  )
                  HENRY WALTER BOYD                              )       Case No.    MJ 22-1872 KK
                    (year of birth 1995)                         )
                                                                 )
                                                                 )
                                                                 )
                          Defendant(s)


                                              CRIMINAL COMPLAINT
         I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of               June 12-13, 2022               in the county of              Bernalillo      in the
                      District of        New Mexico          , the defendant(s) violated:

            Code Section                                                   Offense Description
18 USC§ 2261A(2)                             Cyberstalking




         This criminal complaint is based on these facts:
See attached affidavit.




         ,t$ Continued on the attached sheet.


                                                                                            Complainant's signature

                                                                                    FBI Special Agent Matthew Frye
                                                                                            Printed name and title

Telephonically sworn and electronically signed.


Date:             12/23/2022
                                                                                              Judge's signature

City and state:                 Albuquerque, New Mexico                        Hon. Kirtan Khalsa, U.S. Magistrate Judge
                                                                                            Printed name and title
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                                         CONCLUSION

       17.      Based on the information set forth above, I submit there is probable cause to

support that, fithin the District of New Mexico, HENRY WALTER BOYD made threats of

violence against DOE and her children, in violation of 18 U.S.C. § 2261A(2).

       18.      Assistant United States Attorney Sarah Mease has reviewed and approved this

application.

       19.      I swear that this information is true and correct to the best of my knowledge.



                                                   Respectfully submitted,



                                                   Matthew Jason Frye
                                                   Special Agent
                                                   Federal Bureau of Investigation


Subscribed electronically and sworn to me telephonically

on December 23, 2022



HONORABLE KIRTAN KHALSA
United States Magistrate Judge
